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APPENDIX 4 _
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CALIFORNIA PRISON HEALTH CARE SERVICES
INMATE MEDICAL SERVICES
VOLUME IV

Policy [_] Procedure L} Attachment

Title: Emergency Medical Response System Policy #: Chapter 12-A
Effective Date:

Last Review Date:
Revision Date:
Approval Date:

This policy applies to the following client population(s):
(X) Adult (16-65 yrs) (X) Geriatric (65 yrs+)

IL POLICY

The California Department of Corrections and Rehabilitation (CDCR) shall ensure that
medically necessary emergency’ response, treatment, and medical transportation is
available, and provided twenty-four-hours-per-day to inmates, employees, contract staff,
volunteers, and visitors.

A. Itis the responsibility of the California Prison Health Care Services (CPHCS) to plan,
implement, and evaluate the Emergency Medical Response System.

B. Basic Life Support (BLS) and Advanced Cardiac Life Support (ACLS) treatment will
be provided consistent with the American Heart Association (AHA) Guidelines for
Cardiopulmonary Resuscitation (CPR) and Emergency Cardiovascular Care (ECC)
and standards of the California Emergency Medical Services Authority (EMSA), and
according to each individual’s training, certification, and authorized scope of practice.

C. The CDCR adopts the California EMSA System Standards and Guidelines definition
and recommended guidelines for first-responder response times. CDCR staff or
contractors will perform the functions of First Aid, BLS, and ACLS, and response
times will meet the EMSA-recommended guidelines for metropolitan/urban areas.

D. “Response Time” is defined as the time interval starting at the placement of the first
call for an emergency medical response and ending with the arrival of treating
personnel at the scene of the incident.

E. For 90 percent of emergency responses:

a. The response time for BLS and CPR-capable personnel shall not exceed four (4)
minutes. -

b. The response time for ACLS-capable health care personnel shall not exceed eight
(8) minutes.

Il. PURPOSE :
The purpose of this policy is to standardize: 1) the structure and organization of the
CDCR Emergency Medical Response System, 2) facilities, equipment, and personnel

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certification and training, 3) procedures for emergency response, and 4) mechanisms for
documentation, data management, medical oversight, and quality improvement activities.

WW. DEFINITIONS

A.

Clinical Staff: Physicians, Registered Nurses (RNs), Physician Assistants (PAs),
Nurse Practitioners, Licensed Vocational Nurses (LVNs), Certified Nursing
Assistants (CNAs), Psychiatric Technicians (PTs), and Dentists.

Ancillary Health Care Staff: Respiratory Therapists, Physical Therapists, Radiology,
and Laboratory.

. Mental Health Staff: Psychiatrists, Psychologists, Licensed Clinical Social Workers

First Aid: Emergency care administered to an injured or sick patient before health

care staff is available.

Basic Life Support (BLS): Emergency care performed to sustain life that include
cardiopulmonary resuscitation, automated external defibrillation, control of bleeding,
treatment of shock, and stabilization of injuries and wounds.

Advanced Cardiac Life Support (ACLS): Emergency care consisting of basic life
support procedures and definitive therapy including the use of invasive procedures,
medications and manual defibrillation.

Emergency Medical Services (EMS): The community response system organized by
the local EMS Agency pursuant to Health and Safety Code Division 2.5.

CDCR. Emergency Medical Response System (EMRS): The organized pattern of
readiness and response services within the CDCR as set forth in this policy.

IV. GENERAL REQUIREMENTS

A.

System Organization and Management

1. Wardens and Chief Medical Officers (CMO) are responsible for cooperatively
developing and maintaining the institution’s capacity to respond to medical
emergencies as specified in this Policy.

2. Responsibilities of Wardens and CMO are to ensure that:

a. Triage and Treatment Areas (TTA) and all clinical areas are properly
staffed and equipped.

b. All Clinical Staff, other Health Care Staff and Mental Health Staff
working in the TTA meet the educational requirements outlined in this
Policy, and have demonstrated competency in emergency patient care.

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c. Local Operating Procedures approved by the Statewide Medical Director,
Statewide Director of Nursing (or designees), and Warden are in place for .
communications, response, evaluation, treatment, and transportation of
inmates, staff, and visitors.

d. Community EMS responders have ready entry and ready exit into and out
of the institution through the vehicle Sallyport and throughout the facility
in order to access the patient.

B. Facilities and Equipment

1,

Emergency equipment and supplies, emergency medical bags, oxygen and
automated external defibrillators (AEDs) shall be maintained according to
manufacturer’s specifications and are readily accessible to health care staff in the
TTA, all clinic areas, emergency medical response vehicles, and all other areas
deemed appropriate by the CMO, Health Care Manager (HCM), Director of
Nursing (DON) and Warden in the institution.

The location of the equipment shall be clearly identified by signage.

The equipment will be maintained, appropriately secured and inventoried each
shift.

C. Personnel: Staffing and Training

1.

All correctional peace officers (custody) shall, within the previous two years,
have successfully completed a course in CPR that is consistent with AHA
guidelines. Custody staff shall maintain a system to manage and track
correctional peace officers CPR requirements.

All Clinical Staff, Ancillary Health Care Staff, and Psychiatrists staff shall, within
the previous two years, have successfully completed a Health Care Provider level
course in BLS that is consistent with the AHA guidelines as a condition of
employment. The California Prison Health Care Services, Professional Education
Unit staff shall maintain a system to manage and track clinical and healthcare
staff CPR requirements.

The primary care physicians, nurse practitioners and physician assistants are
required to obtain and maintain Advanced Cardiac Life Support (ACLS)
certification.

The Director of Nurses (DON), Supervising Registered Nurse (SRN) over TTA,
TTA RNs, and other RNs that are required to work in the TTA, will obtain and
maintain ACLS certification.

All nursing staff ACLS certified shall follow the AHA- ACLS algorithms and

_guidelines under the direction of a physician,

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D. Institutions will Conduct Emergency Response Training Drills

1. See Policy 12-Al

REFERENCES

e American Heart Association - Guidelines for Cardiopulmonary Resuscitation and
Emergency Cardiovascular Care

e California Emergency Medical Services Authority #101: EMS System Standards
and Guidelines, June 1993.

« California Department of Corrections and Rehabilitation, Inmate Medical
Services Policy and Procedure Manual; Volume 12, Mental Health Services
Delivery System, Chapter 10, Suicide Prevention and Response.

e California Department of Corrections and Rehabilitation, Emergency Alarm
Response Plan

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INMATE MEDICAL SERVICES
VOLUME IV

[Policy

~)Procedure Attachment

Title: Emergency Medical Response System | Chapter #: 12-A

Effective Date:
Last Review Date:
Revised Date:
Approval Date:

PERFORMED BY:

GENERAL
INSTRUCTIONS:

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PceP:O RN: UO LVN: O

All staff has the authority to initiate a 9-1-1 call for Emergency Medical
Services (EMS).

Any facility staff that encounters a medical emergency including staff and
visitor is responsible for immediately summoning assistance by the most
expeditious means available (e.g., personal alarm device, two-way radio,
whistle, shouting, or telephone).

To efficiently activate a community EMS response and notify appropriate
facility staff of a medical emergency, Local Operating Procedures,
approved by the Statewide Medical Director, Statewide Director of Nursing
or designees, and Warden will: a) identify the single point of contact for
reporting medical emergencies, which will be either the Triage and
Treatment Area (TTA) Registered Nurse (RN), Watch Commander or the
Watch Sergeant; and b) establish the mechanism for the TTA RN or Watch
Commander to contact the appropriate parties.

Activation of the institution Emergency Medical Response System (EMRS)
and the community EMS system shall occur as necessary to ensure the
highest level of emergency medical care is available in the shortest time
interval.

Preservation of a crime scene shall not preclude or interfere with the
delivery of emergency medical care. Preservation of life shall take
precedence over the preservation of a crime scene.

Custody requirements shall not unreasonably delay medical care in a
life-threatening situation unless the safety of staff, inmates, or the general
public is compromised.

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e If an inmate/patient is unable to be resuscitated, the decision to- terminate
cardiopulmonary resuscitation (CPR) shall be made by a physician or
community emergency medical service personnel. Pronouncement of death
shall only be determined and made by a physician.

PROCEDURE:

A. Response, Treatment, and Transportation

1. First Responder (FR)

a.

The first staff member (custody, medical etc.) at the scene of an
apparent medical emergency is the FR.

The FR shall briefly evaluate the patient and situation, then
immediately notify health care staff of a possible medical
emergency, and summon the appropriate level of assistance.

The FR will then immediately initiate CPR if appropriate.

If possible, the FR shall inform the health care staff whether the
nature of the possible medical emergency is medical, traumatic,
obstetric, or mental health.

The FR shall initiate community EMS activation if necessary.

If CPR can not be initiated due to the condition of the patient the
reason(s) must be clearly documented on a CDCR Form 837-C,
Crime/Incident Report Supplement.

2. Registered Nurse (RN) Licensed Vocational Nurse (LYN)

a.

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The RN or LVN shall respond promptly to the scene of the medical
emergency with a medical emergency response bag, oxygen, and an
Automated External Defibrillator (AED) and initiate and/or assist
with CPR.

The RN is responsible for making an initial assessment of the
inmate/patient and deciding whether a medical emergency is
present.

The RN shall notify the TTA clinical staff with relevant clinical
information on impending admit and estimated time of arrival
(ETA).

The RN shall initiate community EMS activation if needed and if
not already completed by the FR.

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_ B, Patient Evaluation and Initial Treatment

1. First Responder

The FR shall initiate appropriate First Aid and/or BLS measures,
including establish airway, breathing, and circulation, control
bleeding and CPR per their training and certification.

2, Custody Protocol

3.

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a. In medical emergencies, the primary objective is to preserve life.

All peace officers who respond to a medical emergency are
mandated, pursuant to court order, to provide immediate life
support, if trained to do so, until medical staff arrives to continue
life support measures. All peace officers must carry a personal CPR
mouth shield at all times.

. The peace officer must evaluate and ensure it is reasonably safe to

perform life support by effecting the following actions:

i. Sound an alarm (a personal alarm or, if one is not issued, an
alarm based on local procedures must be used) to summon
necessary personnel and/or additional custody personnel.

ii. Determine and respond appropriately to any exposed
bloodborne pathogens.

iii. Determine, isolate, contain, and control the emergency and
‘significant security threats to self or others including any
circumstances causing harm to the involved inmate.

iv. Initiate life saving measures consistent with training.

The responding peace officer will be required to complete a written
report describing the decisions made regarding immediate life
support and actions taken or not taken, including cases where life
support is not initiated consistent with training and/or situations
which pose a significant threat to the officer or others.

The RN shall begin appropriate medical treatment and assume
responsibility for directing any medical care already in progress.

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b. The clinical FR or RN shall begin CPR unless one or more of the

following signs of death are present. If one or more sign is present
the patient will be determined to be deceased by the physician.

i. Rigor mortis/ Dependent lividity

ii. Tissue decomposition.

iii. Decapitation

iv. Incineration

Once started, CPR shall be continued until:

i. Resuscitative efforts are transferred to a rescuer of equal or
higher level of training;

ii. The patient is determined to be deceased by a Physician;

iii. Effective spontaneous circulation and ventilation have been
restored;

iv. Emergency responders are unable to continue because of
exhaustion or safety and security of the rescuer or others is
jeopardized;

v. Awritten, valid Do Not Resuscitate (DNR) order is presented.

C. Patient Transportation and Definitive Care

1. The RN and Primary Care Provider, based on the patient clinical
condition and emergency. situation, shall:

a. Continue medical treatment until community EMS responders

arrive and assume care and transport the patient.

. Transport the patient to the TTA; or nearest site equipped, staffed,

and identified as an area for performance of Advanced Cardiac Life
Support.

If clinically appropriate, continue treatment on location and direct
EMS personnel to the scene.

2. Inmates shall only assist with transportation if they are part of the fire

3.

crew.

CDCR Form 7252, Request for Authorization of Temporary Removal
for Medical Treatment, will be initiated by healthcare staff and given to
the designated custody representative ic. Associate Warden of
Healthcare, Watch Commander etc. staff for final completion. After the

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form is completed it is then forwarded to the custody transportation
team.

. The transport of a patient via code 3 ambulance shall not be

unnecessarily delayed in order to complete the CDCR Form 7252.

. EMS personnel will transport the patient to a community emergency

facility according to local EMS Agency Policies and Procedures

. During business hours the TTA RN shall notify the Chief Medical

Officer (CMO) or designee or supervising RN (SRN) on duty of the
medical emergency transport and the circumstances of the transport as
soon as possible. The Chief of Mental Health shall be notified of all
suicides, suicide attempts, possible overdoses, and inmates included in
the Mental Health Services Delivery System who require medical
emergency transport,

. During non-business hours the TTA RN shall notify the institution

Physician On Call or TTA Physician by telephone as soon as possible to
inform him or her of the patient status and transport decision. The SRN
shall notify the CMO or designee.

. For patients transferred to a community emergency facility, the TTA

physician or RN shall contact the receiving facility and provide a report
on the patient, including medical history, medication, allergies, the
history of the incident and treatment rendered. The initial report should
not be delayed because other information (medical history, medications,
or historical information) is not available. This additional information
shall be provided by a second phone call as scon as it becomes available.

D. Documentation

. First Responder/RN Documentation Requirements.

a. All non-clinical staff members who respond to or witness a medical
emergency must document their observations and actions on a
CDCR Form 837-C, Crime/Incident Report Supplement.

b. Ifthe medical emergency does not meet the criteria for an CDC 837
Crime/Incident Report, the information will be transferred /
completed on a 128-B Informational Chrono.

c. The RN will complete CDCR Form 7219, Medical Report of Injury
or Unusual Occurrences and a progress note describing assessment,
treatment and outcomes.

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d. If CPR is not initiated, staff will document the reason(s) why on

CDCR Form 128-B Informational Chrono or CDCR 837-C,
Crime/Incident Report Supplement.

The use of an AED will be documented by a health care staff
member. The electronic information record shall be downloaded,
printed and added to the inmates’ Unit Health Record (UHR).

Medical Emergency Response Documentation shall be completed —
by the First Responder RN.

The RN shall. be responsible for completing the Clinical
Observations and Interventions Form(s). Additional documentation
shall be completed on a CDCR Form 7230, Interdisciplinary
Progress Note,

The Medical Emergency Response Documentation shall be signed
by the RN with the date and time the forms were completed. The
forms, with additional documentation, are to be delivered to TTA
personnel before the end of the watch worked by the RN.

The RN shall refer inmate/patient via CDCR Form #128-MHS5 or by
personal contact for an inmate that present with self-inflicted
injuries to Mental Health Staff for evaluation and suicide risk
assessment.

* Evaluation by Mental Health Staff shall be completed prior
to re-housing in an outpatient setting.

2. TTA Documentation Requirements

a.

Basic Life Support (BLS) and Advanced Cardiac Life Support
(ACLS) BLS and ACLS on the TTA CDCR Form 7403, Emergency
Care Flow Sheet.

. Care delivered according to RN protocols on the appropriate RN

protocol forms.

CDCR Form 7230, Interdisciplinary Progress Note, shall be
completed when space on the CDCR Form 7403, Emergency Care
Flow Sheet, or the RN protocol forms is insufficient.

. On arrival at the TTA, the RN shall remain with the patient and

continue recording until efforts are terminated, or until EMS
personnel assume patient care. During this time, the RN shall record
the following:

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i. Patient identification data (CDCR number, or, if unavailable,
other identifying data).

ii. Description of initial events and patient presentation (patient
location, position, and witness description of events).

iii. Times various treatments and procedures are rendered.

iv. The name and title of the RN, name and title of the person to
whom the form is transferred, the date and time of the transfer,
and the RNs signature.

e. TTA staff shall attach the documentation to the CDCR Form 7403,

Emergency Care Flow Sheet, for inclusion in the patient’s UHR.

3. Transport Documentation Requirements

a.

a.

The CDCR Form 7403, Emergency Care Flow Sheet, and all
attachments, or a copy thereof, shall be provided to the EMS
transport staff if the patient is sent out of the institution.

The CDCR Form 7252, Request for Authorization of Temporary
Removal for Medical Treatment.

Licensed health care personnel are responsible for reviewing,
authenticating, and signing the Medical Response Documentation.

Sallyport officers are to maintain a standardized log of all
emergency vehicle traffic entrances and exits, including times.

E. System Evaluation and Quality Improvement

. Emergency Medical Response Review

All medical emergency responses resulting in the transfer of a
patient to an outside health care provider or a death shall be
reviewed by the CMO, the Director of Nurses (DON) and
Emergency Medical Response Review Committee (EMRRC).
Documentation of that review, including but not limited to
observations, relevant clinical information, recommendations, and
corrective actions to be taken, if any, will be forwarded to the
respective Regional Director of Nursing (RDON), Regional
Medical Director (RMD) and the assigned Associate Director,
Division of Adult Institutions, within 10 days following the
institution EMRRC meeting.

The CMO and DON shall take appropriate action on clinical
practice issues that are identified, which may include, but are not

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limited to, gathering additional information, employee counseling,
and referral of the incident to Clinical Support Unit (CSU). The
RMD and or the RDON will be notified of clinical practice issues
and actions as appropriate by CMO or DON.

All deaths in which the manner of death is suicide or suspected
suicide shall be referred for review by the Suicide Prevention and
Response Focused Improvement Team (SPRFIT) with appropriate
documentation.

2. Quality Assurance and Monitoring

a. Equipment malfunctions and inadequately stocked Emergency

Medical Bags or other supplies shall be reported to the DON and
CMO immediately following the emergency medical incident.

. All institutions are required to conduct routine audits on all

emergency medical incidents, review the results, develop and
implement corrective actions, and monitor performance.

The CMO and Warden are responsible for ensuring auditing and
improvement activities are undertaken and documented on a
systematic and continuous basis.

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CALIFORNIA PRISON HEALTH CARE SERVICES
INMATE MEDICAL SERVICES

VOLUME IV
xIPolicy O Procedure Attachment
Title: Emergency Medical Response Bag Chapter #: 12-A2
Inventory/ Audit Effective Date:

Last Review Date:

Revised Date: -

Approval Date:

I, POLICY

The California Department of Corrections and Rehabilitation (CDCR) shall
establish a procedure for auditing and refilling the Emergency Response Bags.

II. PURPOSE

To ensure institutional staffs are properly trained in the location approved contents,
use, refill, and documentation of Emergency Response bag.

Il. PROCEDURE

A. Emergency Medical Response Bag Inventory/Audit.

1. The emergency response bag must be stored in a secured area with no
‘inmate access.

2. Contents of the Medical Emergency Response Bag shall be audited each
watch by the designated health care staff to ensure that the seals are intact.

3. Documentation of the Medical Emergency Response Bag inventory/audit
will be documented on the Emergency Response Bag Inventory List
(Attachment #1).

4. Designated zippered compartments of each Medical Emergency Response
Bag will be sealed (compartment zippers together) with a numbered
plastic seal.

a. When the seal is broken a complete inventory of the contents is
required and items are to be refilled/replaced according to the
Emergency Response Bag content / quantity list (Attachment #2).

i. The bag will be inventoried for designated supplies and
' equipment
ii. Items with expiration dates will be checked to ensure all
items within the bag are within expiration dates.

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Chapter 12-A2: Emergency Medical Response Bag Audit
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b. Gloves and safety shears must be stored in the end zippered pocket .
of the emergency response bag.
iii. The end zippered pocket will be left unsealed
iv. Visual inspection of the safety shears must be completed as
part of the audit/inventory performed every shift.

5. All Emergency Medical Response Bag Inventory/Audit List(s) shall be
submitted to the Director of Nursing (DON) or designee and tracked
monthly.

6. An inventory of a sealed compartments is required monthly if the seal on a
bag has not been broken and an inventory of that compartment has not
been completed in the previous 30 days.

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Chapter 12-A2: Emergency Medical Response Bag Audit
